
W. SHARP, Judge.
We affirm the trial court’s summary denial of Washington’s Florida Rule of Criminal Procedure 3.800(a) motion to increase county jail credit applied against his five year sentence in Case No. 91-3640. The allegations of his motion are insufficient to show entitlement to additional credit. The Department of Corrections is responsible for computing Washington’s credit for time spent in county jail after sentencing, while awaiting transfers to a drug program or a state prison. See § 921.161(2), Fla.Stat. (1993). If the post-sentence credit is incorrect, Washington should pursue his administrative remedies, and then seek a writ of mandamus against the department in the circuit court, if dissatisfied with the outcome. See Reynolds v. State, 590 So.2d 1043 (Fla. 1st DCA 1991). Our affirmance in this case is without prejudice to pursue such an administrative remedy.
AFFIRMED.
GOSHORN and HARRIS, JJ., concur.
